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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT




JASON GOODE,                       :
          Plaintiff,               :
                                   :             PRISONER
     v.                            :    Case No. 3:04CV1524(WWE)
                                   :
WILLIAM FANEUFF, et al.,           :
          Defendants.              :



MEMORANDUM OF DECISION ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

     Plaintiff Jason Goode commenced this civil rights action pro

se pursuant to 28 U.S.C. § 1915.       He alleges that defendants,

Unit Manager Faneuff and Correctional Officers Wiseman and Lopez,

failed to protect him from assault by another inmate.        The

defendants have moved for summary judgment.       For the reasons that

follow, the defendants’ motion will be granted.

I.   Standard of Review

     In a motion for summary judgment, the burden is on the

moving party to establish that there are no genuine issues of

material fact in dispute and that it is entitled to judgment as a

matter of law.   See Rule 56(c), Fed. R. Civ. P.; Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 256 (1986).       The moving party

may satisfy this burden by demonstrating the absence of evidence

supporting the nonmoving party’s case.       See PepsiCo, Inc. v.

Coca-Cola Co., 315 F.3d 101, 105 (2d Cir. 2002) (per curiam).
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The court construes the facts in the light most favorable to the

nonmoving party.      See Cioffi v. Averill Park Cent. Sch. Dist. Bd.

of Educ., 444 F.3d 158, 162 (2d Cir.), cert. denied, 127 S. Ct.

382 (2006).

      When a motion for summary judgment is supported by

documentary evidence and sworn affidavits, the nonmoving party

must do more than vaguely assert the existence of an unspecified

disputed material fact or offer speculation or conjecture.             See

Western World Ins. Co. v. Stack Oil, Inc., 922 F.2d 118, 121 (2d

Cir. 1990).      Where one party is proceeding pro se, the court

reads the pro se party’s papers liberally and interprets them to

raise the strongest arguments suggested therein.         See Burgos v.

Hopkins, 14 F.3d 787, 790 (2d Cir. 1994).        Despite this liberal

interpretation, however, a “bald assertion,” unsupported by

evidence, cannot overcome a properly supported motion for summary

judgment.      Carey v. Crescenzi, 923 F.2d 18, 21 (2d Cir. 1991).

II.   Facts1

      As of November 5, 2001, plaintiff was incarcerated at

Northern Correctional Institution in Unit 1 West, Cell 111.            His



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       The facts are taken from defendants’ Local Rule 56(a)1
Statement [doc. #46-2] and the exhibits and affidavits attached to the
defendants’ memorandum [doc. # 46-4] and plaintiff’s Local Rule 56(a)2
Statement and the exhibits attached to the Statement [doc. #49] and
the exhibits attached to plaintiff’s Memorandum in Opposition to the
Motion for Summary Judgment [doc. #47].

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cellmate was Inmate Walter Lawson.      On November 21, 2001,

plaintiff and Inmate Lawson got into an argument.        The argument

escalated into a fight.    Plaintiff threw only one punch.

Correctional Officers Wiseman and Lopez observed the argument and

altercation, gave orders to the plaintiff and Lawson to stop

fighting, called a Code Blue summoning Captain Faneuff to the

scene, but did not intervene.     After Captain Faneuff arrived at

plaintiff’s cell the fight ceased, both inmates were handcuffed

and an officer escorted the plaintiff to the medical unit for

treatment, including x-rays.      Plaintiff suffered a broken jaw.

     Approximately two weeks prior to November 21, 2001,

plaintiff had been in a cell adjacent to Inmate Lawson and had

attempted to be supportive of him.      At no time prior to November

21, 2001, did plaintiff have any problems with Inmate Lawson,

complain to anyone about Inmate Lawson or request to be placed in

protective custody.   After the altercation, plaintiff declined to

press charges against Inmate Lawson.

III. Discussion

     Plaintiff contends that he should not have been placed in a

cell with Inmate Lawson and that defendants Wiseman and Lopez

failed to intervene to stop the November 21, 2001 altercation

between himself and Inmate Lawson.      The defendants argue that the

plaintiff cannot state a claim for failure to protect him from


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assault by Inmate Lawson.

       The Eighth Amendment’s proscription against cruel and

unusual punishment imposes a duty on prison officials to make

reasonable efforts to ensure inmate safety.         See Farmer v.

Brennan, 511 U.S. 825, 832 (1994).        This duty includes protecting

inmates from harm at the hands of other inmates.          See id.; Fischl

v. Armitage, 128 F.3d 50, 55 (2d Cir. 1997).

       To establish a constitutional violation, a prisoner must

show that the conditions of his incarceration posed a substantial

risk of serious harm and that the prison official was

deliberately indifferent to his safety.        See Farmer, 511 U.S. at

834.    Deliberate indifference exists where the official both

knows of and disregards an excessive risk to inmate safety.             See

id. at 837.    For example, correctional staff would be on notice

of a substantial risk of serious harm where there has been prior

hostility between inmates, or a prior assault by one inmate on

another, and those inmates are not kept separated.          See, e.g.,

Ayers v. Coughlin, 780 F.2d 205, 209 (2d Cir. 1985).

       A.   Failure to Prevent Assault

       Plaintiff contends that the defendants were deliberately

indifferent to his safety when they housed him in the same cell

with Inmate Lawson prior to the assault.        The plaintiff alleges

that after his transfer to Northern in June 2001, he expressed


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concerns about his safety to a Department of Correction employee

who is not a defendant in this case.      Prison officials

transferred him to a cell with Inmate Lawson on November 5, 2001,

and Inmate Lawson assaulted the plaintiff in that cell on

November 21, 2001.

     The defendants have submitted a copy of plaintiff’s

deposition in which he states he did not have any problems with

Inmate Lawson, complain to anyone about Inmate Lawson or request

to be placed in protective custody prior to the altercation with

Inmate Lawson on November 21, 2001.      In addition, plaintiff

conceded that he had been housed in a cell adjacent to Inmate

Lawson two weeks prior to the altercation and that he and Inmate

Lawson experienced no problems during that time.

     Plaintiff has presented no contrary evidence suggesting that

any of the defendants were aware that he would be assaulted by

Inmate Lawson on November 21, 2001.      Although plaintiff presents

evidence that he was assaulted by another inmate in September

2001, he does not allege or submit evidence indicating that any

of the defendants were aware of that prior assault.        One prior

incident involving an assault on plaintiff by a cellmate of which

defendants were not aware, does not constitute knowledge of a

substantial risk of harm to plaintiff by future cellmates.            See

Farmer, 511 U.S. at 842    (Correctional staff would be on notice


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of a substantial risk of harm if there was a “longstanding,

pervasive, well-documented” history of inmate attacks and staff

had been exposed to that information.)      The motion for summary

judgment will be granted as to this claim.

     Plaintiff also generally asserts that due to the lack of a

written policy requiring Department of Correction officials at

Northern to perform an inmate compatibility assessment prior to

assigning an inmate a cellmate, he was improperly housed in the

same cell with Inmate Lawson and subjected to assault by him.

The requirement that an inmate share a cell with another inmate

is not unconstitutional.    See Rhodes v. Chapman, 452 U.S. 337,

347-48 (1981)(holding that double-celling inmates in an

overcrowded facility was not unconstitutional).       Research reveals

no constitutional requirement that prison officials have a

written policy in place regarding determinations of inmate

compatibility for purposes of cell assignments.

     Plaintiff does not allege that any of the defendants were

responsible for the policies used by the Department of Correction

to determine inmate compatibility at Northern in November 2001 or

that any of the defendants authorized his placement in the cell

with Inmate Lawson prior to the altercation.       Furthermore,

plaintiff does not allege or provide evidence to suggest that he

was incompatible with Inmate Lawson prior to the assault.         In


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fact, plaintiff conceded that prior to the assault by Inmate

Lawson, he and Inmate Lawson were confined in cells adjacent to

each other in the restrictive housing unit and he offered words

of support to Inmate Lawson during that difficult time period.

Accordingly, the plaintiff has failed to state a claim upon which

relief may granted as to his allegations that the alleged flawed

policy for determining inmate compatibility at Northern subjected

him to confinement in a cell with and assault by Inmate Lawson.

The motion for summary judgment will be granted on this ground.

     B.    Failure to Intervene

     Plaintiff alleges that defendants Lopez and Wiseman failed

to intervene to stop the assault by Inmate Lawson.        The

defendants argue that plaintiff has failed to exhaust his

available administrative remedies as to this claim.

     The Prison Litigation Reform Act, 42 U.S.C. § 1997e(a),

requires an inmate to exhaust “administrative remedies as are

available” before bringing an “action ... with respect to prison

conditions.”   The Supreme Court has held that this provision

requires an inmate to exhaust administrative remedies before

filing any type of action in federal court, see Porter v. Nussle,

534 U.S. 516, 532 (2002), regardless of whether the inmate may

obtain the specific relief he desires through the administrative

process.   See Booth v. Churner, 532 U.S. 731, 741 (2001).


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Inmates must properly exhaust their administrative remedies.

This requirement includes complying with all procedural

requirements, including filing deadlines.       See Woodford v. Ngo,

548 U.S. 81, 90-91 (2006).

     The Second Circuit recognizes three exceptions to the

exhaustion requirement:    “(1) administrative remedies were not

available to the prisoner; (2) defendants have either waived the

defense of failure to exhaust or acted in such a way as to estop

them from raising the defense; or (3) special circumstances, such

as a reasonable misunderstanding of the grievance procedures,

justify the prisoner’s failure to comply with the exhaustion

requirement.”   Ruggiero v. County of Orange, 467 F.3d 170, 175

(2d Cir. 2006) (citing Hemphill v. New York, 380 F.3d 680, 686

(2d Cir. 2004)).

     The administrative remedies for the Connecticut Department

of Correction are set forth in Administrative Directive 9.6,

entitled Inmate Grievances.    The court takes judicial notice of

Directive 9.6, which provides that matters relating to

application of departmental policies, rules and procedures,

individual employee actions, and any other matters relating to

access to programs, conditions of care and housing unit

conditions are grievable.    The plaintiff’s claim falls into these

categories.   Thus, administrative remedies were available to him.


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     The defendants raised failure to exhaust administrative

remedies in their answer and motion for summary judgment.         They

have not waived the defense.     In addition, the plaintiff does not

argue that any defendant acted in a way that would estop him from

asserting this defense.

     Finally, the plaintiff has presented no evidence suggesting

the existence of special circumstances that would justify his

failure to comply with the exhaustion process.       The plaintiff

states that he filed grievances regarding the timeliness of tours

through the unit on the day of the assault.        That claim,

however, is not in the complaint.2      The claim that Officers

Wiseman and Lopez failed to intervene once the assault began is

completely different than the claim that officers failed to make

routine tours of the unit.

     The court concludes that the plaintiff has satisfied none of

the exceptions to the exhaustion requirement.       He attached to his

complaint copies of grievance forms submitted regarding issues

not included in this action.     Thus, the court concludes that the

plaintiff understood the grievance process.

     The defendants have submitted the affidavit of the grievance

coordinator at Northern Correctional Institution.        The grievance


     2
        Plaintiff cannot amend his complaint in a motion or
memorandum. See Wright v. Ernst & Young LLP, 152 F.3d 169, 178 (2d
Cir. 1998), cert. denied, 525 U.S. 1104 (1999).

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coordinator noted that the plaintiff filed many grievances during

the relevant time period, but did not submit any grievance

regarding correctional staff waiting too long or failing to

intervene in the altercation between the plaintiff and Inmate

Lawson on November 21, 2001.     In opposition to the defendants’

motion for summary judgment, the plaintiff has provided no

evidence that he properly exhausted these claims.        See Macias v.

Zenk, 495 F.3d 37, 43-44 (2d Cir. 2007) (affirming dismissal for

failure to properly procedurally exhaust administrative remedies

where inmate presented no argument suggesting administrative

procedures were so confusing that his failure to comply with

procedural requirements was justified and noting that notice to

prison officials alone is insufficient to satisfy exhaustion

requirement).

     The defendants’ motion for summary judgment will be granted

as to the claim that Officers Wiseman and Lopez failed or waited

too long to intervene in the assault on the plaintiff by Inmate

Lawson on the ground that the plaintiff failed to properly

exhaust his administrative remedies before commencing this

action.




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IV.   Conclusion

      The defendants’ motion for summary judgment [doc. #46] is

GRANTED.   The Clerk is directed to enter judgment for the

defendants and close this case.

      SO ORDERED this 8th day of August, 2008, at Bridgeport,

Connecticut.
                                                   /s/
                                                                ____
                                  Warren W. Eginton
                                  Senior United States District Judge




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